         Case 5:17-cv-00079-JLH Document 20 Filed 08/21/17 Page 1 of 6



                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            PINE BLUFF DIVISION

CHARLES E. HAMNER,
ADC #143063                                                                   PLAINTIFF

V.                           CASE NO. 5:17-CV-00079 JLH/BD

DANNY BURLS, et al.                                                        DEFENDANTS

                    PARTIAL RECOMMENDED DISPOSITION

I.     Procedure for Filing Objections

       This Partial Recommended Disposition (“Recommendation”) has been sent to

Judge J. Leon Holmes. You may file written objections to this Recommendation. If you

file objections, they must be specific and must include the factual or legal basis for your

objection. Your objections must be received in the office of the United States District

Court Clerk within fourteen (14) days of this Recommendation.

       If no objections are filed, Judge Holmes can adopt this Recommendation without

independently reviewing the record. By not objecting, you may also waive any right to

appeal questions of fact.

II.    Background

       Charles E. Hamner, an Arkansas Department of Correction (“ADC”) inmate, filed

this lawsuit without the help of a lawyer under 42 U.S.C. § 1983. (Docket entry #2) Mr.

Hamner alleges that Defendants Burls, Jenkins, Williams, Outlaw, and Evans retaliated
          Case 5:17-cv-00079-JLH Document 20 Filed 08/21/17 Page 2 of 6



against him by holding him in administrative segregation for 203 days before transferring

him to another ADC unit. 1

        Defendants have now moved to dismiss Mr. Hamner’s claims against them,

arguing that they are entitled to qualified immunity. (#16) Mr. Hamner has responded to

the motion, and it is ripe for decision. (#19)

III.    Discussion

    A. Standard

        In deciding whether a plaintiff has stated a claim, the Court must determine

whether the plaintiff has pleaded facts with enough specificity “to raise a right to relief

above the speculative level.” Bell Atlantic Corp. v. Twombly, 550 U.S.544, 555, 127 S.Ct.

1955, 1965 (2007)(citations omitted). A complaint cannot simply “[leave] open the

possibility that a plaintiff might later establish some ‘set of undisclosed facts’ to support

recovery.” Id. at 1968 (citation omitted). Rather, the facts set forth in the complaint must

be sufficient to “nudge [the] claims across the line from conceivable to plausible.” Id. at

1974.

        The Court must accept the factual allegations in the complaint as true and hold a

plaintiff’s pro se complaint “to less stringent standards than formal pleadings drafted by

lawyers. . . .” Haines v. Kerner, 404 U.S. 519, 520-21 (1972) (per curiam). Even if the

plaintiff is proceeding without the help of a lawyer, however, he must still allege

sufficient facts to support his claims. Stringer v. St. James R-1 Sch. Dist., 446 F.3d 799,


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 The Court previously dismissed Mr. Hamner’s claims that the Defendants violated his
due process rights and that Defendants violated ADC policy and procedure. (#6)
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         Case 5:17-cv-00079-JLH Document 20 Filed 08/21/17 Page 3 of 6



802 (8th Cir. 2006); Stone v. Harry, 364 F.3d 912, 913 (8th Cir. 2004) (citing Dunn v.

White, 880 F.2d 1188, 1197 (10th Cir.1989) (“we will not supply additional facts, nor

will we construct a legal theory for plaintiff that assumes facts that have not been

pleaded”).

   B. Retaliation Claim

       In their motion, Defendants first argue that Mr. Hamner’s claims fail because he

did not complain about retaliatory conduct in the nine grievances that he filed while he

was housed in administrative segregation. Defendants rely on the grievances attached to

Mr. Hamner’s complaint to support their argument.

       It is true that Mr. Hamner did not complain of retaliatory conduct in the grievances

he attached to his complaint. Even so, at this stage in litigation, the Court must assume

that the facts alleged by Mr. Hamner are true. In his complaint, Mr. Hamner specifically

states that the Defendants retaliated against him for his use of the grievance procedure by

holding him in administrative segregation for 203 days before transferring him to another

ADC unit. (#2 at p.p.14-15) If Defendants wish to challenge whether Mr. Hamner fully

exhausted his administrative remedies, they may do so in a properly supported motion for

summary judgment.

       Defendants next argue that Mr. Hamner’s allegations are purely speculative. The

Court has already screened Mr. Hamner’s complaint and, based on his allegations,

concluded that he stated retaliation claims. At this stage, Mr. Hamner is not required to

present evidence to support his allegations.



                                               3
         Case 5:17-cv-00079-JLH Document 20 Filed 08/21/17 Page 4 of 6



       Defendants also argue that, according to Mr. Hamner’s administrative review

papers, he was held in administrative segregation for security concerns. The Court should

not dismiss Mr. Hamner’s claims on this basis. Defendants rely solely on the

administrative segregation review papers dated August 12, 2015, four months after Mr.

Hamner’s initial assignment to administrative segregation. (#2 at p.60) According to that

document, the committee recommended that Mr. Hamner continue to be housed in

isolation based on “security concerns.” (Id.) Mr. Hamner, however, attaches several other

administrative segregation review papers to his complaint. In the review papers dated

May 13, 2015, no reason was provided for Mr. Hamner to remain in administrative

segregation. (#2 at p.36) Similarly, on May 27, 2015, June 3, 2015, and June 10, 2015, no

reason was provided for Mr. Hamner to remain in administrative segregation. (Id. at

pp.49, 44, 53) Furthermore, in several of the grievances that Mr. Hamner submitted, he

specifically complained about the committee’s failure to provide any basis to continue to

hold him in administrative segregation. (Id. at pp.35, 39, 43, 47, 48, 52, 59) Based on

these records, the Court cannot conclude that, prior to August 12, 2015, Mr. Hamner was

held in administrative segregation for security reasons.

   C. Qualified Immunity

       Defendants contend that they are entitled to qualified immunity. Qualified

immunity shields Defendants from liability “unless [their] conduct violates a clearly

established constitutional or statutory right of which a reasonable person would have

known.” Shekleton v. Eichenberger, 677 F.3d 361, 365 (8th Cir. 2012) (quoting Brown v.

City of Golden Valley, 574 F.3d 491, 495 (8th Cir. 2009)). “Qualified immunity gives

                                             4
         Case 5:17-cv-00079-JLH Document 20 Filed 08/21/17 Page 5 of 6



government officials breathing room to make reasonable but mistaken judgments” and

“protects all but the plainly incompetent or those who knowingly violate the law.”

Stanton v. Sims, 134 S.Ct. 3, 5 (2013) (per curiam) (quoting Ashcroft v. al–Kidd, 563 U.S.

731, 743 (2011).

       In considering qualified immunity, the Court must assume that Mr. Hamner’s well

pleaded allegations are true. To find that the Defendants are shielded by qualified

immunity in this case, the Court would have to conclude that Defendants did not know,

and could not have been expected to know, that they could not retaliate against Mr.

Hamner for his use of the grievance process. Dixon v. Brown, 28 F.3d 379 (8th Cir. 1994)

(filing a grievance is protected first amendment activity). At this time, the Defendants are

not entitled to qualified immunity.

       D.   Request for Declaratory Relief

         Defendants also contend that Mr. Hamner’s claims for declaratory relief against

   Defendants in their individual capacities should be dismissed. Defendants argue that,

   because Mr. Hamner has been transferred to another ADC unit, his request for

   declaratory relief is now moot.

         In his complaint, Mr. Hamner requests that the Court declare “that the acts and

   omissions described herein violated plaintiff’s rights under the constitution and laws

   of the United States.” (#2 at p.27) Because the Court recommends that Mr. Hamner be

   allowed to proceed on his retaliation claim, the Defendants’ request to dismiss Mr.

   Hamner’s request for declaratory relief is premature.



                                             5
        Case 5:17-cv-00079-JLH Document 20 Filed 08/21/17 Page 6 of 6



IV.   Conclusion

      At this early stage of the litigation, the Court recommends that the Defendants’

motion to dismiss (#16) be DENIED.

      DATED this 21st day of August, 2017.


                                         ____________________________________
                                         UNITED STATES MAGISTRATE JUDGE




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